NOT RECOMMENDED FOR FULL-TEXT PUBLICATION

oy No. 05-6750
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ares UNITED STATES COURT OF APPEALS ILED
Wak FOR THE SIXTH CIRCUIT
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UNITED STATES OF AMERICA, ) |
) LEONARD GREEN, Clerk
Plaintiff-Appellee, )
)
v. ) ON APPEAL FROM THE UNITED
) STATES DISTRICT COURT FOR
DAVID CROSS, )  THEEASTERN DISTRICT OF
) TENNESSEE
Defendant-Appellant. )
ORDER

- Before: MERRITT, DAUGHTREY, and GRIFFIN, Circuit Judges.

David Cross appeals a district court judgment that revoked his supervised release. His case
has been referred to a panel of this court pursuant to Rule 34())(1), Rules of the Sixth Circuit. Upon
review, the panel unanimously agrees that oral argument is not needed. Fed. R. App. P. 34(a).

In 1999, Cross pleaded guilty to conspiring to distribute cocaine. See 21 U.S.C. § 846. He
was initially sentenced to forty months of imprisonment and four years of supervised release.

The district court revoked Cross’s supervised release in 2005, because he had a positive test
for cocaine and had refused to comply with his probation officer’s instructions. On November 1,
2005, the court sentenced Cross to seven days of imprisonment and three years of supervised release.
It is from this judgment that he now appeals.

Cross’s attorney has filed a motion to withdraw and a brief indicating that there are no

colorable issues to appeal. See Anders v. California, 386 U.S. 738, 744 (1967). Cross did not file

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a timely response to counsel’s motion, and an independent review of the proceedings reveals no issue
that would support a viable direct appeal. See id.

The district court held a final revocation hearing within a reasonable time, at which Cross
was represented by counsel and allowed to present evidence on his own behalf. See Fed. R. Crim.
P, 32.1. There was sufficient evidence to support the court’s finding that Cross had violated a
condition of his supervised release by submitting a positive urine test which indicated that he had
used cocaine and by failing to comply with his probation officer’s directions during another drug test.
Hence, the district court did not abuse its discretion by revoking his supervised release. See 18
U.S.C. § 3583(g)(1); United States v. Lowenstein, 108 F.3d 80, 86 (6th Cir. 1997).

Cross had argued for a sentence other than imprisonment so that he could continue to work
and be involved with his family. Defense counsel suggests that Cross may wish to argue that his new
sentence was excessive, as he had completed most of his prior term of supervised release when it
was imposed. The district court took these issues into account when it sentenced Cross to only seven
days of imprisonment, with credit for seven days that he had already served, and to thirty-six months
of supervised release, with six months of that term to be served in a community corrections center
where he would have the opportunity to continue his employment. The court also gave him the
benefit of the doubt regarding a separate drug screen that had produced mixed results. Cross had
violated his supervised release on prior occasions and his new sentence was reasonably calculated
to promote respect for the law and to provide him with needed treatment for drug abuse. See 18
U.S.C. § 3553(a). The sentence that Cross received was not unreasonable. See United States v.
Kirby, 418 F.3d 621, 628 (6th Cir. 2005); United States v. Jackson, 70 F.3d 874, 878 (6th Cir. 1995).

Accordingly, counsel’s motion to withdraw is granted and the district court’s judgment is
affirmed. Rule 34(4)(2)(C), Rules of the Sixth Circuit.

ENTERED BY ORDER OF THE COURT

Clerk

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UNITED STATES COURT OF APPEALS
FOR THE SIXTH CIRCUIT

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RE: 05-6750
USA vs. Cross
District Court No. 98-00023

Enclosed is a copy of an order which was entered today in the
above-styled case.

very truly yours,
Leonard Dan Clerk

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Casé Manager

Enclosure

cc:

Honorable J. Ronnie Greer
Ms. Patricia L. McNutt

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